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                   ATTACHMENT
                              A
                 Redacted Docket Materials
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certification by the applicant that the information likely to be obtained is relevant to an ongoing

criminal investigation being conducted by that agency.” 18 U.S.C. § 3122(b).

       3.      The undersigned applicant is an “attorney for the Government” as defined in Rule

1(b)(1) of the Federal Rules of Criminal Procedure.

       4.      One of the law enforcement agencies conducting the investigation is the Drug

Enforcement Administration (DEA) (hereinafter “Agency”).

       5.      The applicant hereby certifies that the information likely to be obtained by the

requested pen-trap devices is relevant to an ongoing criminal investigation being conducted by the

Agency.

                                          JURISDICTION

       6.      This Court has jurisdiction to issue the requested Order because it is a “court of

competent jurisdiction” as defined by 18 U.S.C. § 3127. 18 U.S.C. § 3122(a)(1). Specifically,

the Court is a “district court of the United States . . . that – has jurisdiction over the offense being

investigated.” 18 U.S.C. § 3127(2)(A)(i). As discussed more fully below, acts or omissions in

furtherance of the offenses under investigation occurred within Washington, DC. See 18 U.S.C.

§ 3237.

                                 ADDITIONAL INFORMATION

       7.      Other than the elements described above, federal law does not require that an

application for an order authorizing the installation and use of a pen register and a trap and trace

device specify any facts. The following additional information is provided to demonstrate that the

order requested falls within this Court’s authority to authorize the installation and use of a pen

register or trap and trace device under 18 U.S.C. § 3123(a)(1).

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       8.      A “pen register” is “a device or process which records or decodes dialing, routing,

addressing, or signaling information transmitted by an instrument or facility from which a wire or

electronic communication is transmitted.” 18 U.S.C. § 3127(3). A “trap and trace device” is “a

device or process which captures the incoming electronic or other impulses which identify the

originating number or other dialing, routing, addressing, and signaling information reasonably

likely to identify the source of a wire or electronic communication.” 18 U.S.C. § 3127(4).

       9.      In the traditional telephone context, pen register devices captured the destination

phone numbers of outgoing calls, while trap and trace devices captured the phone numbers of

incoming calls. Similar principles apply to other kinds of wire and electronic communications, as

described below.

       10.     The Internet is a global network of computers and other devices. Devices directly

connected to the Internet are identified by a unique number called an Internet Protocol, or “IP”

address. This number is used to route information between devices. Generally, when one device

requests information from a second device, the requesting device specifies its own IP address so

that the responding device knows where to send its response. An IP address is analogous to a

telephone number and can be recorded by pen-trap devices, and it indicates the online identity of

the communicating device without revealing the communication’s content. There are two types of

IP addresses: dynamic and static. A static IP address is one that is permanently assigned to a given

computer on a network. With dynamic IP addressing, however, each time a computer establishes

an Internet connection, that computer is assigned a different IP address. Based on the IP address

used for a given online transaction, law enforcement may be able to determine the geographical

location of the Internet connection used in the transaction.

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       11.     A network is two or more computers or other devices connected to each other that

can exchange information with each other via some transmission method, such as by wires, cables,

or radio waves. The equipment that connects a computer or other device to the network is

commonly referred to as a network adapter. Most network adapters have a Media Access Control

(“MAC”) address assigned by the manufacturer of the adapter that is designed to be a unique

identifying number.      An adapter’s unique MAC address allows for proper routing of

communications on a local area network and may be used for other purposes, such as authentication

of customers by some network service providers. Unlike a device’s IP address that often changes

each time a device connects to the Internet, a MAC address is fixed at the time of manufacture of

the adapter. Because the address does not change and is intended to be unique, a MAC address

can allow law enforcement to identify whether communications sent or received at different times

are associated with the same adapter.

       12.     On the Internet, data transferred between devices is not sent as a continuous stream,

but rather it is split into discrete packets. Generally, a single communication is sent as a series of

packets. When the packets reach their destination, the receiving device reassembles them into the

complete communication.       Each packet has two parts: a header with routing and control

information, and a payload, which generally contains user data. The header contains non-content

information such as the packet’s source and destination IP addresses and the packet’s size.

       13.     In addition, different Internet applications are associated with different “port

numbers,” or numeric identifiers. The port number is transmitted along with any communication

using that application. For example, port 80 typically is associated with communications involving



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the World Wide Web. Port numbers are also used by many wireless carriers as a method for

identifying a particular device on the wireless carrier’s network.

       14.     A cellular telephone, or cell phone, is a mobile device that transmits and receives

wire and electronic communications. Individuals using cell phones contract with cellular service

providers, who maintain antenna towers covering specific geographic areas. In order to transmit

or receive calls and data, a cell phone must send a radio signal to an antenna tower that, in turn, is

connected to a cellular service provider’s network.

       15.     In addition to a unique telephone number, each cell phone has one or more unique

identifiers embedded inside it. Depending upon the cellular network and the device, the embedded

unique identifiers for a cell phone could take several different forms, including an Electronic Serial

Number (“ESN”), a Mobile Electronic Identity Number (“MEIN”), a Mobile Identification Number

(“MIN”), a Subscriber Identity Module (“SIM”), an International Mobile Subscriber Identifier

(“IMSI”), a Mobile Subscriber Integrated Services Digital Network Number (“MSISDN”), or an

International Mobile Station Equipment Identity (“IMEI”). When a cell phone connects to a

cellular antenna or tower, it reveals its embedded unique identifiers to the cellular antenna or tower,

and the cellular antenna or tower records those identifiers as a matter of course. The unique

identifiers—as transmitted from a cell phone to a cellular antenna or tower—are like the telephone

number of an incoming call. They can be recorded by pen-trap devices and indicate the identity

of the cell phone device making the communication without revealing the communication’s

content.

       16.     In addition, a list of incoming and outgoing telephone numbers is generated when a

cell phone is used to make or receive calls, or to send or receive text messages (which may include

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photographs, videos, and other data). These telephone numbers can be recorded by pen-trap

devices and then used to identify the parties to a communication without revealing the

communication’s contents.

       17.    A cell phone can also be used to exchange text messages with email accounts. The

email addresses associated with those text messages can be recorded by pen-trap devices and then

used to identify parties to a communication without revealing the communication’s contents.

       18.    Cell phones can connect to the Internet via the cellular network. When connecting

through the cellular network, Internet communications sent and received by the cell phone each

contain the same unique identifier that identifies cellular voice communications, such as an ESN,

MEIN, MIN, SIM, IMSI, MSISDN, or IMEI. Internet communications from a cell phone also

contain the IP address associated with that cell phone at the time of the communication. Each of

these unique identifiers can be used to identify parties to a communication without revealing the

communication’s contents.

       19.    A WhatsApp message has its own routing header, in addition to the source and

destination information associated with all Internet data. The message header of an email contains

the message’s source and destination(s), expressed as email addresses in “From,” “To,” “CC”

(carbon copy), or “BCC” (blind carbon copy) fields. Multiple destination addresses may be

specified in the “To,” “CC,” and “BCC” fields. The email addresses in an email’s message header

are like the telephone numbers of both incoming and outgoing calls because they indicate both

origin and destination(s). They can be recorded by pen-trap devices and can be used to identify

parties to a communication without revealing the communication’s contents.



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                MAC addresses, including MAC addresses associated with access to the SUBJECT

                 ACCOUNT;

                Headers of WhatsApp messages, including the source and destination network

                 addresses, as well as routes of transmission and size of the messages, but not content

                 located in the headers, such as subject lines;

                Any unique identifiers associated with the device or devices used to access the

                 SUBJECT ACCOUNT; and

                The number and size of any attachments associated with access to, and

                 communications to or from, the SUBJECT ACCOUNT.

                                   GOVERNMENT REQUESTS

       25.       For the reasons stated above, the United States requests that the Court enter an Order

authorizing the installation and use of pen-trap devices to record, decode, and/or capture the dialing,

routing, addressing, and signaling information described above for each access to, and each

communication to or from, the SUBJECT ACCOUNT, to include the date, time, and duration of

the communication, without geographic limit. The United States does not request and does not

seek to obtain the contents of any communications, as defined in 18 U.S.C. § 2510(8).

       26.       The United States further requests that the Court authorize the foregoing installation

and use for a period of sixty days from the date of the Court’s Order, pursuant to 18 U.S.C.

§ 3123(c)(1).

       27.       The United States further requests, pursuant to 18 U.S.C. §§ 3123(b)(2) and 3124(a)-

(b), that the Court order WhatsApp (hereinafter “Service Provider”) and any other person or entity

providing wire or electronic communication service in the United States whose assistance may

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facilitate execution of the Order, furnish the Agency forthwith all information, facilities, and

technical assistance necessary to install the pen-trap devices, including installation and operation

of the pen-trap devices unobtrusively and with minimum disruption of normal service. Any entity

providing such assistance shall be reasonably compensated by the Agency, pursuant to 18 U.S.C.

§ 3124(c), for reasonable expenses incurred in providing facilities and assistance in furtherance of

the Order.

       28.     The United States further requests that the Court order the Service Provider and any

other person or entity whose assistance may facilitate execution of this Order to notify the applicant

and the Agency of any changes relating to SUBJECT ACCOUNT, including changes to subscriber

information, and to provide prior notice to the applicant and the Agency before terminating or

changing service to SUBJECT ACCOUNT.

       29.     The United States further requests that the Court order that the Agency and the

applicant have access to the information collected by the pen-trap devices as soon as practicable,

twenty-four hours per day, or at such other times as may be acceptable to them, for the duration of

the Order.

       30.     The United States further requests that the Court order that Attachment A, which is

incorporated by reference in the proposed Order and which identifies the name(s) of the person(s)

under investigation, remain under seal and withheld from service upon the Service Provider. The

information in Attachment A is not needed by the Service Provider, and doing so will help safeguard

both the privacy interests of unindicted and uncharged individuals and the integrity of the

government’s ongoing investigation. As the Court is aware, persons identified by law enforcement

as “subjects” at the investigative stage of a case may ultimately never be indicted or charged with

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any crimes. Yet providing the identities of such persons to commercial entities as “subjects”

needlessly exposes those persons to non-law-enforcement entities, and risks further exposure

should service providers become careless with such information or themselves have that

information breached or “hacked” by other parties. At the same time, exposing the identities of

persons considered “subjects” to service providers also puts investigations at risk, inasmuch as

persons who become aware of their identification as “subjects” can flee and destroy evidence, etc.

To be sure, Section 3123(d) contemplates the sealing of the Court’s Order, and that service

providers will comply and keep the existence of the Order secret. But especially in the age of

“internet hacking,” it is unwise to impart identification information to third parties when that

information is simply not required by those third parties and its exposure risks needless harm.

       31.     The United States further requests, pursuant to 18 U.S.C. § 3123(d)(2), that the Court

order the Service Provider and any other person or entity whose assistance facilitates execution of

the Court’s Order, and their agents and employees, not to disclose in any manner, directly or

indirectly, by any action or inaction, the existence of this application and the Court’s Order, the

resulting pen-trap devices, or this investigation, unless and until authorized by this Court, except

that the Service Provider may disclose the Order to an attorney for the Service Provider for the

purpose of receiving legal advice.

       32.     The United States further requests that this application and any resulting Order be

sealed until otherwise ordered by the Court, pursuant to 18 U.S.C. § 3123(d)(1).

       33.     The United States further requests that the Clerk of the Court provide the United

States Attorney’s Office with three certified copies of this application and the Court’s Order upon

request, and provide copies of the Order to the Agency upon request.

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       34.    The foregoing is based on information provided to me in my official capacity by

agents of the Agency.

       I declare under penalty of perjury that the foregoing is true and correct.



       EXECUTED on this17th day of January, 2020.


                                                     Respectfully submitted,

                                                     JESSIE K. LIU
                                                     United States Attorney
                                                     DC Bar No. 472845


                                                     /s/ Arvind Lal
                                                     Arvind K. Lal
                                                     D.C. Bar No. 389496
                                                     Assistant U.S. Attorney
                                                     United States Attorney’s Office
                                                     555 4th Street, N.W., 11th Floor
                                                     Washington, D.C. 20530
                                                     (202) 252-7688
                                                     Arvind.Lal@usdoj.gov




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       IT IS THEREFORE ORDERED, pursuant to 18 U.S.C. § 3123, that the Agency is

authorized to install and use pen-trap devices to record, decode, and/or capture dialing, routing,

addressing, and signaling information associated with each access to, and each communication to

or from, the SUBJECT ACCOUNT, including the date, time, and duration of the communication,

and the following, without geographic limit:

              IP addresses, including IP addresses associated with access to the SUBJECT

               ACCOUNT;

              MAC addresses, including MAC addresses associated with access to the

               SUBJECT ACCOUNT;

              Headers of messages, including the source and destination network addresses, as

               well as routes of transmission and size of the messages, but not content located in

               the headers, such as subject lines;

              Any unique identifiers associated with the device or devices used to access the

               SUBJECT ACCOUNT; and

              The number and size of any attachments associated with access to, and

               communications to or from, the SUBJECT ACCOUNT.


       IT IS FURTHER ORDERED, pursuant to 18 U.S.C. § 3123(c)(1), that the use and

installation of the foregoing is authorized for sixty days from the date of this Order;

       IT IS FURTHER ORDERED, pursuant to 18 U.S.C. §§ 3123(b)(2) and 3124(a)-(b), that

WhatsApp (hereinafter “Service Provider”) and any other person or entity providing wire or

electronic communication service in the United States whose assistance may, pursuant to 18 U.S.C.

§ 3123(a), facilitate the execution of this Order shall, upon service of this Order, furnish

information, facilities, and technical assistance necessary to install the pen-trap devices, including


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installation and operation of the pen-trap devices unobtrusively and with minimum disruption of

normal service;

         IT IS FURTHER ORDERED that Attachment A shall remain under seal even as to the

named Service Provider until further order of the Court, and therefore shall be withheld from

service upon the Service Provider;

         IT IS FURTHER ORDERED that the Agency reasonably compensate the Service Provider

and any other person or entity whose assistance facilitates execution of this Order for reasonable

expenses incurred in complying with this Order;

         IT IS FURTHER ORDERED that the Service Provider and any other person or entity

whose assistance may facilitate execution of this Order, notify the applicant and the Agency of

any changes relating to the SUBJECT ACCOUNT, including changes to subscriber information,

and to provide prior notice to the Agency before terminating or changing service to the SUBJECT

ACCOUNT;

         IT IS FURTHER ORDERED that the Agency and the applicant are authorized to have

access to the information collected by the pen-trap devices as soon as practicable, twenty-four

hours per day, or at such other times as may be acceptable to the Agency, for the duration of the

Order;

         IT IS FURTHER ORDERED, pursuant to 18 U.S.C. § 3123(d)(2), that the Service Provider

and any other person or entity whose assistance facilitates execution of this Order, and their agents

and employees, shall not disclose in any manner, directly or indirectly, by any action or inaction,

the existence of the application and the Court’s Order, the pen-trap devices, or the investigation to

any person, unless and until otherwise ordered by the Court, except that the Service Provider may

disclose the Order to an attorney for the Service Provider for the purpose of receiving legal advice;



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       IT IS FURTHER ORDERED that the Clerk of the Court shall provide the United States

Attorney’s Office with three certified copies of this application and Order upon request, and shall

provide copies of this Order to the Agency upon request;

       IT IS FURTHER ORDERED that the application and this Order are sealed until otherwise

ordered by the Court, pursuant to 18 U.S.C. § 3123(d)(1).




                                             HONORABLE DEBORAH J. ROBINSON
                                             UNITED STATES MAGISTRATE JUDGE




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       IT IS THEREFORE ORDERED, pursuant to 18 U.S.C. § 3123, that the Agency is

authorized to install and use pen-trap devices to record, decode, and/or capture dialing, routing,

addressing, and signaling information associated with each access to, and each communication to

or from, the SUBJECT ACCOUNT, including the date, time, and duration of the communication,

and the following, without geographic limit:

              IP addresses, including IP addresses associated with access to the SUBJECT

               ACCOUNT;

              MAC addresses, including MAC addresses associated with access to the

               SUBJECT ACCOUNT;

              Headers of messages, including the source and destination network addresses, as

               well as routes of transmission and size of the messages, but not content located in

               the headers, such as subject lines;

              Any unique identifiers associated with the device or devices used to access the

               SUBJECT ACCOUNT; and

              The number and size of any attachments associated with access to, and

               communications to or from, the SUBJECT ACCOUNT.


       IT IS FURTHER ORDERED, pursuant to 18 U.S.C. § 3123(c)(1), that the use and

installation of the foregoing is authorized for sixty days from the date of this Order;

       IT IS FURTHER ORDERED, pursuant to 18 U.S.C. §§ 3123(b)(2) and 3124(a)-(b), that

WhatsApp (hereinafter “Service Provider”) and any other person or entity providing wire or

electronic communication service in the United States whose assistance may, pursuant to 18 U.S.C.

§ 3123(a), facilitate the execution of this Order shall, upon service of this Order, furnish

information, facilities, and technical assistance necessary to install the pen-trap devices, including


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installation and operation of the pen-trap devices unobtrusively and with minimum disruption of

normal service;

         IT IS FURTHER ORDERED that Attachment A shall remain under seal even as to the

named Service Provider until further order of the Court, and therefore shall be withheld from

service upon the Service Provider;

         IT IS FURTHER ORDERED that the Agency reasonably compensate the Service Provider

and any other person or entity whose assistance facilitates execution of this Order for reasonable

expenses incurred in complying with this Order;

         IT IS FURTHER ORDERED that the Service Provider and any other person or entity

whose assistance may facilitate execution of this Order, notify the applicant and the Agency of

any changes relating to the SUBJECT ACCOUNT, including changes to subscriber information,

and to provide prior notice to the Agency before terminating or changing service to the SUBJECT

ACCOUNT;

         IT IS FURTHER ORDERED that the Agency and the applicant are authorized to have

access to the information collected by the pen-trap devices as soon as practicable, twenty-four

hours per day, or at such other times as may be acceptable to the Agency, for the duration of the

Order;

         IT IS FURTHER ORDERED, pursuant to 18 U.S.C. § 3123(d)(2), that the Service Provider

and any other person or entity whose assistance facilitates execution of this Order, and their agents

and employees, shall not disclose in any manner, directly or indirectly, by any action or inaction,

the existence of the application and the Court’s Order, the pen-trap devices, or the investigation to

any person, unless and until otherwise ordered by the Court, except that the Service Provider may

disclose the Order to an attorney for the Service Provider for the purpose of receiving legal advice;



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       IT IS FURTHER ORDERED that the Clerk of the Court shall provide the United States

Attorney’s Office with three certified copies of this application and Order upon request, and shall

provide copies of this Order to the Agency upon request;

       IT IS FURTHER ORDERED that the application and this Order are sealed until otherwise

ordered by the Court, pursuant to 18 U.S.C. § 3123(d)(1).

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                                             HONORABLE DEBORAH J. ROBINSON
                                             UNITED STATES MAGISTRATE JUDGE




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